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EASTERN | HSTRICE-WI

COMPLAINT LED

(for filers who are prisoners without layyyeys) 99 © 4: 25

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UNITED STATES DISTRICT COURT. yy
EASTERN DISTRICT OF WISCONSIN» a Me

 

(Full name of plaintiff(s))

Libis 2, Live!
Lida. Steven Wace

 

Vv. Case Number:

19-C-0122
(Full name of see)

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Lefer Salk 57 » Tylet Schentl*e%€ , Schabl Timothy A, Hansdee, Vhowths A
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A. PARTIES

1. Plaintiff is a citizen of; Anh AVA, /; WS SCOH Sf! , and is located at
(State)

file ito ye Aitlicr La, LL BSI.

(Address of prison or jail)

(If more than one plaintiff is filing, use another piece of paper.)

2. Defendant Lx d Lobe Le. Lastest L Lk Lee Liz Lut ZA Y /
Shude. Pistict A Holitty . (Name)

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i is (if a person or private corporation) a citizen of Li, SCOASIA
(State, if known)
and (if a person) resides at_/20O- 557 4G wot, Lowe, f Ne 58/10
° (Address, if known)
and (if the defendant harmed you while doing the defendant's job)

worked for £; Ciler AA Ll Li CE. L2eiaih wut L Leber Ly V2 Lith Chie L. ‘Dede L2: Aaj MY, (ney |

I1}XLO- 3S fyeed Fenosld, i e402 (Employer's name and address, if known)
(If you need to list more defendants, use another piece of paper.)
B. STATEMENT OF CLAIM

On the space provided on the following pages, tell:

1. Who violated your rights;

2. What each defendant did;

3. When they did it;

4. Where it happened; and

5. Why they did it, if you know.

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C. JURISDICTION

 

I am suing for a violation of federal law under 28 U.S.C. § 1331.

OR

 

i I am suing under state law. The state citizenship of the plaintiff(s) is (are)
different from the state citizenship of every defendant, and the amount of
, eo at stake in this case (not counting interest and costs) is

$ Wt wWiteTe G DAS

D. RELIEF WANTED

Describe what you want the Court to do if you win your lawsuit. Examples may
include an award of money or an order telling defendants to do something or to
stop doing something.

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E. JURY DEMAND

I want a jury to hear my case.

YES | ]-No

I declare under penalty of perjury that the foregoing is true and correct.

Complaint signed this _<5 x day of / 20/7,

Respectfully Submitted,

Kael

Signature of Plaintiff
*SYCGS
Plaintiff's Prisoner ID Number

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VIET 2 SE hye, AeDd, Wt, SAL.

(Mailing Address of Plaintiff)

 

(If more than one plaintiff, use another piece of paper.)
REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FULL FILING FEE
IDO request that I be allowed to file this complaint without paying the filing fee.
[have completed a Request to Proceed in District Court without Prepaying the

Full Filing Fee form and have attached it to the complaint.

[| I DO NOT request that I be allowed to file this complaint without prepaying the
filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this

complaint.

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